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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION


TONY GARCIA,

              Plaintiff,

v.                                            Case No. 5:21-cv-226-RH-MJF

WHITE, et al.,

              Defendants.

______________________________/


          ORDER DISMISSING ALL CLAIMS UNDER THE ADA
             OR REHABILITATION ACT AND ALL CLAIMS
         AGAINST DEFENDANTS DOMINICIS AND SIDEBOTTOM


       This case is before the court on the magistrate judge’s report and

recommendation, ECF No. 20, and the plaintiff’s “motion for leave,” ECF No. 21.

It is not clear what the “motion for leave” seeks leave to do. The deadline for

objections to the report and recommendation has passed.

       The recommendation is for dismissal of all claims under the Americans

with Disabilities Act and Rehabilitation Act and all claims against the defendants

Jorge Dominicis and Kevin Sidebottom. It is not clear that the operative

pleading—the fifth amended complaint—even asserts claims under the ADA or

Rehabilitation Act or against Mr. Sidebottom, but the report and recommendation
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is correct that any such claims should be dismissed. The report and

recommendation also is correct that the fifth amended complaint fails to state a

claim on which relief can be granted against Mr. Dominicis. Accordingly,

       IT IS ORDERED:

       1. The report and recommendation is accepted.

       2. All claims under the Americans with Disabilities Act and Rehabilitation

Act and against Mr. Dominicis and Kevin Sidebottom are dismissed.

       3. I do not direct the entry of judgment under Federal Rule of Civil

Procedure 54(b).

       4. The “motion for leave,” ECF No. 21, is denied.

       5. The remaining claims are remanded to the magistrate judge.

       SO ORDERED on July 7, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




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